                Case 7:23-mj-01877 Document 1 Filed on 10/26/23 in TXSD Page 1 of 2

AO 9 1 (Rev. 11 /1 1) Criminal Compl aint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District of Texas

                    United States of America                      )
                                   V.                             )
                                                                  )      Case No.
                                                                  )
                    Jesus Maciel GARCIA
                                                                  )
                             YOB:1981                             )
                                                                  )
                              Defendant(s)


                                               CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my know ledge and belief.
On or about the date(s) of October 25 , 202~               _ _ _ in the county of Hidal_:_
                                                                                       g_o_ _ _ _ _ _ _ in the
    Southern             District of         Texas            , the defendant(s) violated:

              Code Section                                                 Offense Description

Title 18 USC 922(g)(l)                       It shall unlawful for any person who has been convicted in any court of
                                             a crime punishable by imprisonment for a term exceeding one year to
                                             possess in or affecting commerce, any firearm or ammunition; or to
                                             receive any firearm or ammunition which has been shipped or
                                             transported in interstate or foreign commerce.

                                                                                     United States District Court
                                                                                     Southern District of Texas
           This criminal complaint is based on these facts:                                     FILED

  See Attachment A                                                                             OCT 2 6 2023                     •a

                                                                                                                        .,;   .·~



                                                                                        Nathan Ochsner, Clerk ··=- ·



           1X1 Continued on the attached sheet.

 Approved by A U SA Roberto Lopez
                                                                                             Complainant 's signature

                                                                              Brenda V. Leal, ATF Special Agent
                                                                                              Printed name and title
[j] Sworn to telephonically and signed electronically
    per Fed.R.Cr.4.1



                                                                                                Judge 's signature

City and state:          McAllen, Texas                                   ~     Ll
                                                                          -lalf.vil-rA&J,,;;--
                                                                                              Printed name and title
        Case 7:23-mj-01877 Document 1 Filed on 10/26/23 in TXSD Page 2 of 2




                                             ATTACHMENT A

On October 25, 2023 , a Hidalgo County Constable conducted a traffic stop on a GMC Yukon driven by
Jeremiah GARCIA (hereinafter J. GARCIA). The passenger was later identified as Jesus Maciel GARCIA
(hereinafter GARCIA), a convicted felon. As a result of a consent to search, a total of four (4) boxes
containing approximately 600 rounds of .50 caliber ammunition was located in the trunk of the
aforementioned vehicle. The rounds of ammunition were contained within ammunition tins that were held
within ripped delivery parcel packaging. The ammunition tins clearly stated that the contents contained
ammunition on the tins themselves.

During a post-Miranda interview of GARCIA , GARCIA made several inconsistent statements regarding
his receipt of the .50 caliber rounds of ammunition. GARCIA later stated that he knew that the boxes that
were loaded into the Yukon contained ammunition and that he believed the ammunition would later be
taken to Mexico by other individuals. GARCIA admitted he knew he was a previously convicted felon that
had served several years in state custody for a Texas intoxication assault conviction. GARCIA admitted he
knew that as a convicted felon.

 During a post-Miranda interview of J. GARCIA, J. GARCIA also made several inconsistent statements
regarding the receipt of the .50 caliber rounds of ammunition. J. GARCIA ultimately admitted that he
traveled to a residence with his father, where they picked up several boxes that had been delivered. J.
GARCIA stated that the boxes were for his father. J. GARCIA stated he observed his father rip the
shipping labels off the packages. J. GARCIA stated he picked up the boxes and loaded them into the
Yukon for his father. J. GARCIA also claimed that he shook several of the boxes. J. GARCIA claimed
that he did not know that the boxes contained ammunition until he was informed of their contents by law
enforcement.

J. GARCIA admitted that he knew that his father was a convicted felon and also knew that he had spent
several years in state custody for a felony conviction.

The four (4) boxes containing approximately 600 rounds of .50 caliber ammunition were shipped outside
the State of Texas Therefore, the ammunition had previously traveled in interstate or foreign commerce at
some point prior to being possessed by any person in the State of Texas.
